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13                                  UNITED STATES DISTRICT COURT
14                    NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                               Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of               DECLARATION OF A
   themselves and all others similarly situated,                S           IN SUPPORT OF
17               Plaintiffs,
                                                                PLAINTIFFS’ MOTIONS FOR
                                                                PRELIMINARY INJUNCTION
18        v.                                                    AND PROVISIONAL CLASS
                                                                CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4317394 3]
                   DECLARATION OF A      S           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, A      S           , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify.
 4                 2.     I am incarcerated in federal prison and am incarcerated at FCI Dublin from
 5 September 2017 to present. In the future BOP may transfer me to other BOP facilities, but
 6 at any point I could be transferred back to FCI Dublin.
 7                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
 9 and put myself and other incarcerated persons at substantial risk of imminent serious harm
10 from sexual assault, harassment, and retaliation from staff.
11                 4.     While at FCI Dublin, I have been sexually assaulted, harassed and been
12 retaliated against. Officer Nunley sexually assaulted me from 2020 to 2021 including
13 groping me and forcing me to touch him and to give him oral sex. Officers Smith and
14 Highhouse also abused and harassed me. I have a skin condition and have long been
15 worried that I contracted herpes from Officer Nunley, as I have endured painful outbreaks,
16 but have been unable to receive medical care or a screening.
17                 5.     There is no effective way to confidentially report sexual assault and abuse by
18 staff at FCI Dublin and staff at FCI Dublin prevent people from reporting sexual assault
19 and abuse by staff and retaliate against people who do report, and who exercise their right
20 to access counsel. After speaking with counsel and reporting this abuse, I experienced
21 retaliation including being put in solitary confinement in the SHU. I began speaking with
22 counsel on March 8, 2023 and my claim was filed on March 24, 3023. After I spoke with
23 my lawyer on March 10, 2023, officers searched my room for no reason, and then I was
24 sent to the SHU on March 13, 2023, as punishment for “wearing green pants” even though
25 others transferred from the camp have been permitted to wear green clothing without
26 punishment. I was punished with 30 days in the SHU and fined $120.70 and lost 41 days
27 of credits. While in the SHU I could not use the phone or CorrLinks, including to contact
28 my lawyer. In April, while still in the SHU, I filed an administrative remedy form to
     [4317394 3]                                          1
                   DECLARATION OF A      S           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 regional to contest the disciplinary measures, which had characterized the green clothing
 2 issued by the camp as escape attire. Following additional advocacy from counsel, I was
 3 released from the SHU on April 6. I feel very frustrated and upset that I lost so many
 4 credits and have been fined for wearing clothing given to me by FCI Dublin and believe I
 5 was targeted because I spoke up.
 6                 6.    Since I began speaking to counsel, officers, especially Officer Solorio, have
 7 been hitting my room repeatedly and consistently. I know that the officers know I have
 8 been speaking to counsel because they look nervous when they see me and before I started
 9 talking to an attorney, they had never searched my room so frequently. My understanding
10 is that room searches are supposed to be randomized and logged, but officers hit my room
11 twice in the week after I spoke with my lawyer. I believe that the officers have not been
12 logging the searches because they do not want others to know. I constantly worry that my
13 belongings could be taken by officers, or I will be put back in the SHU or otherwise
14 targeted again. Because of the abuse and retaliation, I stay in my room as much as
15 possible, and avoid leaving the room to work out or go to rec like I used to. I have also
16 had great difficulty getting medical and mental health care and feel very concerned about
17 my health. I feel overwhelmed, targeted, and like there is no help for me here. I did not
18 expect to endure such treatment.
19                 7.    There is no confidential mental health care available to survivors of sexual
20 abuse and assault at FCI Dublin. I have tried to get an appointment with a psychologist,
21 but I have never been able to. I was informed that Tri-Valley Care was an option but was
22 told it was only for PREA reporting and not for ongoing care.
23                 8.    There is little to no medical care available to survivors of sexual abuse and
24 assault at FCI Dublin. I believe I may have contracted a sexually transmitted disease,
25 herpes, from Officer Nunley but I have not been able to obtain any medical care for it.
26 When I have sought medical care, they say come back if you have an outbreak, and they
27 just told me to take ibuprofen and drink more water. When I have experienced painful
28 outbreaks, I go back to medical, but they tell me that because they don’t have any female
     [4317394 3]                                         2
                   DECLARATION OF A      S           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 doctors, I have to come back another time, and by then the outbreak subsides. I am
 2 worried that I will pass the virus to others because of being unable to get a diagnosis or
 3 treatment. I also have eczema, but medical gives me the wrong medication for it, leaving
 4 me in discomfort. Diabetes also runs in my family, and I have reason to believe that I have
 5 it, but I have been unable to get any screening or care. I am very worried that FCI
 6 Dublin’s lack of medical care is worsening my health and allowing otherwise manageable
 7 conditions to persist and potentially endanger me.
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    [4317394 3]                                     3
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